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Benjamin H. Carney
bcarney@quinnlaw.com

March 31, ZOll

VIA E-MAIL AND REGULAR MAIL TO:
R. Wayne Bond

Womble Carlyle Sandridge & Rice, PLLC
271 17th street NW

Suite 2400

Atlanta, GA 30363-1017

Wbond@Wcsr.com

Re: Brown v, Allied H0me Mortgage Capz'tal Corporation
Timothy Washington

Dear Wayne:

This firm represents Timothy Washington Who Will soon be added as an additional named
plaintiff and putative class representative in Brown v. Allied Home Mortgage Capz`tal
Corporation Mr. Washington and his father Charles Washington (noW deceased) refinanced the
mortgage for their home at 5l08 Richard Avenue, Baltimore, MD 21214 With your client, Allied
Home Mortgage Capital Corporation and/or Allied Mortgage Capital Corporation (“Allied”) on
at least three occasions: on or about March 25, 2002; on or about December 27, 2002; and on or
about July 28, 2003.

Mr. Washington’s loan files do not contain any arbitration agreement(s) validly executed
"by both parties," and Mr. Washington has never received any arbitration documents executed
"by both parties." To the extent there may exist any arbitration agreement(s) signed by Mr.
Washington that Were not executed by Allied, Allied's ability to do so lapsed many years ago due
to Allied's failure to execute the arbitration provisions Within a reasonable period of time.

Regardless, if any question still remains on this issue, please be advised that l\/Ir.
Washington hereby fully and completely revokes and Withdravvs any offer to enter into an
arbitration agreement With Allied (or any of its successors or assigns) on each of the mortgage
loans described above (as Well as in regard to any other loan that Mr. Washington may have
entered into With Allied).

Please feel free to contact me if you have any questions

Very truly yours, 7 _ s

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cc: T. Sky WoodWard

